Case: 1:15-cv-07939 Document #: 14 Filed: 08/17/16 Page 1 of 27 PagelD #:84

UNITED STATES DISTRICT COURT
FOR THE Northern District of Illinois, Eastern Division

Gregory Minniefield
Plaintiff,

Vv. Case No. 1:15-cv-07939
Honorable Edmond E. Chang

Medical Director Dr. Obasi, Warden

Terry Williams, Wexford Health

Sources, Inc., Wexford Supervisor

Kevin Halloran and Grievance Officer

Jill Parish

Defendants

 

AMENDED STATEMENT OF CLAIM
Case: 1:15-cv-07939 Document #: 14 Filed: 08/17/16 Page 2 of 27 PagelD #:85
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to respond or acknowledge Plaintiff letter’s, leaving him exposed to a deteriorating condition as
time continued without Plaintiff getting proper treatment. [Plaintiff sent over 10 letters]

10. Wexford Health Sources, Inc. (“Wexford”) is, and at all times relevant

to this lawsuit was, engaged in the business of providing health care professionals and services to
all correctional facilities in Illinois pursuant to contract. In this role, Wexford is obligated to
properly implement all IDOC written policies and directives to ensure adequate medical
treatment is provided at all times.

11. Plaintiff submitted several grievance’s that were denied by his counselor, so he appealed
his grievance to the grievance officer, Jill Parish, who answered some of his grievance, denying
him the treatment for his medical condition. Plaintiff also appealed his grievance to Springfield
to the Administrative review board and none of them was answered due to I.D.0.C.’s inadequate
grievance procedure, and as of a direct result of that fact’s stated to this complaint. Plaintiff is in
a state of ongoing prolonged pain and suffering and a deteriorating condition. Plaintiff has made
every effort to exhaust his administrative remedies available to him. See attached exhibits.

     

ttorney for Gregory Minniefield

Thomas F. Burke, P.C.

53 W. Jackson Blvd, Suite 1441
Chicago, IL 60604
312/362-1300
Case: 1:15-cv-07939 Document #: 14 Filed: 08/17/16 Page 5 of 27 PagelD #:88
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ILLINOIS DEPARTMENT OF CORRECTIONS

OFFENDER'S GRIEVANCE (Continued)

 

 

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ILLINOIS DEPARTMENT OF CORRECTIONS -

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LLINOIS DEPARTMENT OF CORRECTIONS

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Return of Grievance or Correspondence ol \

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Facility: \Lis
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Grievance: Facility Grievance # (if applicable) Dated: or CL] Correspondence: pated:
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The attached grievance or correspondence is being returned for the following reasons:

 

Additional information required:
#1 AW’ Provide a copy of your written Committed Person's Grievance, DOC 0046, including the counselor's response, if applicable.

#2 E+ Provide a copy of the Committed Person’s Grievance Report, DOC 0047, including the Grievance Officer's and Chief
Administrative Officer's response, to appeal.

(1) Provide dates of disciplinary reports and facility where incidents occurred.

[] Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
grievance or correspondence with the additional information requested to: Administrative Review Board
: . Office of Inmate Issues
1301 Concordia Court
Springfield, |L 62794-9277

 

 

Misdirected:
Contact your correctional counselor regarding this issue.

Request restoration of Good Conduct Credits (GCC) to Adjustment Committee. If the request is denied by the facility, utilize the
offender grievance process outlined in Department Rule 504 for further consideration.

Contact the Record Office with your request or to provide additional information.

Personal property issues are to be reviewed at your current facility prior to review by the Administrative Review Board.

Address concerns to: Illinois Prisoner Review Board
319 E. Madison St., Suite A
Springfield, IL 62706

Witt Do

 

 

No further redress:

 

 

 

 

 

() Award of Meritorious Good Time (MGT) and Statutory Meritorious Good Time (SMGT) are administrative decisions; therefore,
this issue will not be addressed further.
(.] Not submitted in the timeframe outlined in Department Rule 504: therefore, this issue will not be addressed further.
(] This office previously addressed this issue on ban i ; a oe
[) No justification provided for additional consideration. ms
Other (specify). ince you and this issue are at the same institution you must first grieve the issue with the institution. You can then

 

appeal that decision with the ARB. To appeal to the ARB you must provide #1 and #2 above within timeframes.

 

 

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Completed by: Gina Alien Sina Hon (SE vs
Print Name Signature Date
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inmate Issues
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OFFENDER'S GRIEVANCE

 

 

 

 

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NATURE OF GRIEVANCE: GRIEVANCE Ont:

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Complete: Attach a copy of any pertinent document (such as a Discipiinary Report, Shakedown Record, etc.) and send to:
Counasior, uniess the issue involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the issue involves discipline al the present facility or tissue nol resolved by Counselor.

Chief Administrative Officer, only if EMERGENCY grievance.
Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordmalor, protective custody, involuntary

administiation of psychotropic drugs, issues from another facility excep! personal propeny issues, or issues not resolved by the Chief
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Summary of Grievance (Provide information including a description of what happened, when and where it happened. and ihe name or identifying information
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| Counselor's Response (if applicable) |

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OFFENDER'S GRIEVANCE (Continued)

 

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OFFENDER'S GRIEVANCE (Gontinued)

 

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NATURE OF GRIEVANCE:

 

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Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, atc.) and send to:
Counselor, unless the issue involves discipline, Is deemed an emergency, or is subject to direct review by the Adminisuative Review Board.
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Administrative Review Board, only if the issue involves transfe: denial by the Transfer Coordinator, protective custody, involuntary

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OFFENDER'S GRIEVANCE (Contirtued)

 

 

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Chief Administrative Officer, only f EMERGENCY grievance.

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Summary of Grievance (Provide information including a description of what happened, when and where it happened, and ine name or idenulying information
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OFFENDER'S GRIEVANCE (Continued)

 

 
     

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RESPONSE TO COMMITTED PERSON'S GRIEVANCE

 

 

I Grievance Officer's Report |
Date Received: 1/28/15
—_—— Date Revi d: | Grievance#M8s84, M855, H85
Committed Person: Minniefield ID#R46792 H

Nature of Grievance: Medical Treatment

Facts Reviewed: THE GRIEVANT COMPLAINS OF BEING DENIED PROPER MEDICAL TREATMENT

Per T Utke LPN after a REVIEW OF THE MEDICAL RECORD
After reviewing offenders medical record and talking to the Pharmacy department he will receive his contact solution tonight.

All proper policies and procedures have been followed at this time. If offender has any more issues please have him follow the proper

sick call procedures.

This Grievance Officer has no medical expertise or authority to contradict the doctor’s/QON 's/AN's recommendation / diagnosis.

 

 

 

 

 

Recommendation: No action as grievant appears to be receiving appropriate medical care at this time.
JILL PARRISH CC2 RA Ad, CETL
Print Grievance Officer's Name i Olicer's Signature
(Attach a copy of Committed Person's Grievance, including counselor's resp If applicable)
| Chief Administrative Officer’s Response |
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Date Received:  <*_- LEXY oS permet a concur (J | do not concur (O Remand

Comments:

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} Cosithitted Person’s Appeal To The Director

| am appealing the Chief Administrative Officer's decision to the Director. | understand this appeal must be submitted within 30 days after the date of the
Chief Administrative Officer's decision to the Administrative Review Board, P.O. Box 19277, Springfield, IL 62794-9277, (Attach a complete copy of the
original grievance, including the counselor's response, if applicable, and any pertinent documents. 5.)

aAisergog Wrz hedel RULTAQ- 03-04 -)S-

Céfnmitied Person's Signature ID# Date

 

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NATURE OF GRIEVANCE:

 

 

 

 

 

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Note: Protective Custody Denials may be griaved immediately via the local administration on the protective custody status notification.

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| Counselor's Response (it applicable) |

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OFFENDER'S GRIEVANCE (Continued)

 

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